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LINITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                  X


STUART MEISSNER, JONATHAN ZERON, JAMES E.
ALEMAN, JR. and STEVEN J. SILVESTRO and                  others       ANSWER TO THE
similarly situated.                                                   COMPLAINT

                                       Plaintiffs                     23 Civ.0re07 (NRBXVF)

                          -against-

THE CITY OF NEW YORK, THE NEW YORK CITY
POLICE DEPARTMENT, THE NEW YORK CITY
POLICE DEPARTMENT LICENSE DIVISION,
KEECHANT L. SEWELL, POLICE COMMISSIONER
OF THE CITY OF NEW YORK, NICOLE BERKOVICH,
DIRECTOR OF THE NEW YORK CITY POLICE
DEPARTMENT LICENSE DIVISION

                                                    Defendants




                Defendants, by their attorney, Hon. Sylvia O. Hinds-Radix, Corporation Counsel

of the City of New York, for their Answer to the Complaint, respectfully allege,               upon

information and belief, as follows:

                1.     Deny the allegations set forth in paragraph         "1" of the Complaint, and

respectfully refer the Court to New York Penal Law $ 400.00 et seq. for the statutory framework

for the licensing of firearms in New York State.

                2.     Deny the allegations set forth in paragraph "2" of the Complaint, and

respectfully refer the Court to New York Penal Law $ 400.00 et seq. for the statutory framework

for the licensing of firearms in New York State.

                3.     Deny the allegations set forth     in   paragraph   "3" of the Complaint, and

respectfully refer the Court to New York Penal Law $ 400.00 et seq. for the statutory framework

for the licensing of firearms in New York State.
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                                                                          ((4)'
                4.      Deny the allegations set forth in paragraph               of the Complaint, and

respectfully refer the Court to New York Penal Law $ 400.00 et seq. for the statutory framework

for the licensing of firearms in New York State.

                5.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in the first sentence of paragraph "5" of the Complaint, except admit

that Plaintiff Stuart Meissner ("Meissner") submitted applications for a New York City Rifle and

Shotgun Permit and a Premises Residence Handgun License                 to the New York City       Police

Department, License Division ("License Division"), and further admit that Plaintiff Jonathan

Zeron ("Zeron") submitted applications for a Special Carry License to the License Division; and

deny the allegations set forth in the second and third sentences ofsaid paragraph.

                6.      Deny the allegations set forth in paragraph "6)r of the Complaint, except

admit that Plaintiffs purport to bring this action as stated therein.
                                                                    47D
                7.      Deny the allegations set forth in paragraph     of the Complaint, except

admit that Plaintiffs accurately quoted from a portion of New York Penal Law $ 400.00(4-b),

and refer the Court to New York Penal Law $ 400.00(4-b) for its complete text.

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                8.      Deny the allegations set forth in paragraph      of the Complaint, except

admit that Plaintiffs accurately quoted from a portion of New York Penal Law $ 400.00(6), and

refer the Court to New York Penal Law $ 400.00(6) for its complete text.

                9.      Deny the allegations set forth in paragraph'(9)' of the Complaint insofar as

they allege that Defendants acted improperly or contrary to law or violated Plaintiffs'

constitutional rights, except admit that Meissner and Zeron submitted various firearm

applications to the License Division.

                10.     Admit the allegations set forth in paragraph    "l0"   of the Complaint.



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               11.    Deny the allegations set forth in paragraph "1 1" of the Complaint, except

admit that Zeron reapplied for a Speci al Carcy License on July 7 , 2022, and further admit that

Zeronwas interviewed by the License Division in connection with this application on March 6,

2023, and aver thatZeron previously submitted an application for a Special Carry License on

February 19,2019, and that such application was denied in February 2020 based on, among other

things, a lack of good moral character stemming from an arrest for grand larceny, a driver's

license suspension, and multiple domestic incidents, and further aver that Zeron challenged the

denial of the application in an Article 78 proceeding bearing Index No. 15482112020, which was

denied by Decision and Order on Motion dated May 3,2021.

               12.    Deny the allegations set forth in paragraph
                                                                  ul2" of the Complaint, except

admit that the License Division has not issued a Special Cany License to Zeton, and fuither

admit that the License Division issued a New York City Rifle and Shotgun Permit to Meissner,

and aver that the License Division approved Meissner's application for a Premises Residence

Handgun License in March 2023.

               13.    Deny the allegations set forth in paragraph"l3" of the Complaint, except

admit that the License Division has not issued a Special Carry License to Zeron, and aver that the

License Division issued a New York City Rifle and Shotgun Permit to Meissner in October

2022, and further aver that the License Division approved Meissner's application for a Premises

Residence Handgun License in March 2023.

               14.    Deny the allegations set forth in paragraph"l4" of the Complaint.

               15.    Deny the allegations set forth in paragraph "15" of the Complaint.

               16.    Deny the allegations set forth in paragraph "16" of the Complaint, except

admit that Plaintiffs accurately quote from a portion of the United States Supreme Court's



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decision in New York State Rifle   &    stol Ass'n. Inc. v. Bruen- 142 S. Ct.2Ill (2022), and refer

this Court to the decision for its full meaning and context.

               T7.     Deny the allegations set forth in paragraphulT" of the Complaint.

               18.     Deny the allegations set forth in paragraph "18" of the Complaint.

               D.      Deny the allegations set forth in paragraph "19" of the Complaint.

               20.     Defendants neither admit nor deny the allegations set forth in paragraph

"20" of the Complaint as they constitute conclusions of law rather than averments of fact to

which no response is required.

               2l.     Defendants neither admit nor deny the allegations set forth in paragraph

"2I" of the Complaint as they constitute     conclusions of law rather than averments of fact to

which no response is required.

               22.     Deny the allegations set forth in the first two sentences of paragraph'(22"

of the Complaint, and neither admit nor deny the allegations set forth in the third sentence of said

paragraph as they constitute conclusions     of law rather than   averments   of fact to which   no

response is required

               23.     Deny the allegations set forth in paragraph"23" of the Complaint.

               24.     Deny the allegations set forth in paragraph"24" of the Complaint.

               25.     Deny the allegations set forth in paragraph "25" of the Complaint, and

refer this Court to the United States Supreme Court's decision in New York State Rifle & Pistol

Ass'n. Inc. v. Bruen, 142 S. Ct.21ll (2022), for its full meaning and context.

               26.     Deny the allegations set forth in paragraphu26" of the Complaint.

               27.     Deny the allegations set forth in paragraph'o27" of the Complaint.




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                28.     Deny the allegations set forth in the hrst sentence of paragraph"Z8" of the

Complaint, except admit that Plaintiffs purport to bring this action as stated therein; and deny the

allegations set forth in the second sentence of said paragraph.

                29.     Deny the allegations set forth in paragraph*29" of the Complaint, except

admit that Plaintiffs purport to bring this action as stated therein.

                30.     Deny the allegations set forth in paragraph "30" of the Complaint, except

admit that Plaintiffs purport to invoke the jurisdiction of this Court and base venue as set forth

therein.

                31.     Deny the allegations set forth in paragraph "31" of the Complaint, except

admit that Plaintiffs purport to bring this action as stated therein.

                32.     Deny the allegations set forth in paragraph "32" of the Complaint, except

admit that Plaintiffs purport to define the proposed class as stated therein.

                33.     Deny the allegations set forth inpangraph"33" of the Complaint.

                34.     Deny the allegations set forth in paragraph"3|" of the Complaint.

                35.     Deny the allegations set forth in paragraph"35" of the Complaint, except

admit that Plaintiffs purport to bring this action as stated therein.

                36.     Deny the allegations set forth in paragraph"36" of the Complaint.

                37.     Deny the allegations set forth inparagraphu3T" of the Complaint.

                38.     Deny the allegations set forth in paragraph "38" of the Complaint.

                39.     Deny the allegations set forth in paragraphu39" of the Complaint.

                40.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph"40" of the Complaint.




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               4L       Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph"4l" of the Complaint.

               42.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraphu42" of the Complaint.

               43.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph"43" of the Complaint.

               44.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph"44" of the Complaint.

               45.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraphu45" of the Complaint.

               46.      Deny the allegations set forth in paragraph'046" of the Complaint, except

admit that the City of New York is a municipal corporation organized and existing under the

laws of the State of New York, and the City's Police Department is established by Chapter 18 of

the New York City Charter and has the powers and duties set forth therein.

               47   .   Deny the allegations set forth rn parugraph "47" of the Complaint, except

admit that New York City Police Department is an agency of the City of New York established

by Chapter l8 of the New York City Charter and has the powers and duties set forth therein.

               48.      Deny the allegations set forth in paragraph "48" of the Complaint, and

refer the Court to Chapter 18 of the New York City Charter for a complete recitation of the

powers and duties of the New York City Police Department.

                                                                    *49" of the Complaint, except
               49.      Deny the allegations set forth in paragraph

admit that pursuant to New York Penal Law $ 265.00(10), the Commissioner of the New York

City Police Department is the firearm licensing officer for the City of New York.



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                50.      Deny the allegations set forth in paragraph "50" of the Complaint insofar

as they allege that Defendants acted improperly or contrary          to law or violated Plaintiffs'

constitutional rights.

                51.      Deny the allegations set forth inparcgraph "51" of the Complaint, except

admit that Keechant L. Sewell is the Commissioner of the New York City Police Department,

and fuither admit that the Commissioner        of the New York City Police Department has the

powers and duties set forth in Chapter 18 of the New York City Charter.

                52.      Deny the allegations set forth in paragraph"s2" of the Complaint, except

admit that Nicole Berkovich is the Director of the License Division.

                53.      Defendants neither admit nor deny the allegations set forth in paragraph

"53" of the Complaint as allegations concerning "color of state law" and "scope of duties"      are


conclusions of law rather than averments of fact to which no response is required.

                54.      Deny the allegations set forth in paragraph*s4" of the Complaint, except

admit that pursuant to New York Penal Law $ 265.00(10), the Commissioner of the New York

City Police Department is the firearm licensing officer for the City of New York.

                55.      Deny the allegations set forth in paragraph "55" of the Complaint.

                56.      Deny the allegations set forth in paragraph'056" of the Complaint, and

refer the Court to New York Penal Law $ 400.00(4-b) for its complete text.

                57.      Deny the allegations set forth in paragraph "57" of the Complaint, and

refer the Court to New York Penal Law $ 400.00(4-b) for its complete text.

                58.      Deny the allegations set forth in paragraph "58" of the Complaint, and

aver that the License Division issued a New     York City Rifle and Shotgun Permit to Meissner in




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October 2022, and fuilher aver that the License Division approved Meissner's application for a

Premises Residence Handgun License in March 2023.

                59.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraphu59" of the Complaint.

                60.      Admit the allegations set forth in paragraph "60" of the Complaint.

                61.      Deny the allegations set forth in paragraph   "6l"   of the Complaint.

                62.      Deny the allegations set forth inparagraph"62" of the Complaint, except

admit that the License Division issued a New York City Rifle and Shotgun Permit to Meissner in

October 2022, and further aver that the License Division approved Meissner's application for a

Premises Residence Handgun License in March 2023.

                63.      Deny the allegations set forth in paragraph"63" of the Complaint.

                64.      Deny the allegations set forth in paragraph "64" of the Complaint insofar

as they allege that Defendants acted improperly or contrary to law or violated Plaintiffs'

constitutional rights.

                65.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph"65" of the Complaint.

                66.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph"66" of the Complaint.

                67.      Deny knowledge or information suffrcient to form a belief as to the truth

of the allegations set forth in paragraph"67" of the Complaint.

                68.      Deny the allegations set forth in paragraph "68" of the Complaint.

                69.      Deny the allegations set forth in paragraph "69" of the Complaint.

                70.      Deny the allegations set forth in paragraph"70" of the Complaint.




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                71.      Deny the allegations set forth in paragraph*71" of the Complaint.

                72.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph"72" of the Complaint.

                73.      Deny the allegations set forth in paragraph "73" of the Complaint insofar

as they allege that Defendants acted improperly or contrary          to law or violated Plaintiffs'

constitutional rights.

                74.      Deny the allegations set forth in paragraph*74" of the Complaint.

                75.      Admit the allegations set forth in the first sentence of paragraph"71" of

the Complaint; deny the allegations set forth in the second sentence of said paragraph; and deny

the allegations set forth in the third sentence       of said paragraph insofar as they   allege that

Defendants acted improperly or contrary to law or violated Plaintiffs' constitutional rights.

                76.      Deny the allegations set forth in paragraph"76" of the Complaint.

                77.      Deny the allegations set forth in paragraph "'/7" of the Complaint, except

admit that Zeron reapplied for a Special Carry License on July 7, 2022, and aver that Zeron

previously submitted an application for a Special Carry License on February 19, 2019, and that

such application was denied on February 2020 based on, among other things, a lack of good

moral character stemming from an arrest for grand larceny, a driver's license suspension, and

multiple domestic incidents, and further aver that Zeron challenged the denial of the application

in an Article 78 proceeding bearing Index No. 15482112020, which was denied by Decision and

Order on Motion dated May 3, 2021.

                78.      Deny the allegations set forth in paragraph((78" of the Complaint insofar

as they allege that Defendants acted improperly or contrary          to law or violated Plaintiffs'

constitutional rights.



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                   79.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph*79" of the Complaint.

                   80.      Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph "S0" of the Complaint.

                   81.      Deny knowledge or information suffrcient to form a belief as to the truth

of the allegations set forth in paragraph "Sl" of the Complaint'

                   82.      Deny the allegations set forth    in the first and second sentences of
paragraph "82" of the Complaint, and refer the Court to New York Penal Law $ a00.00(6) for

the statutory framework for the licensing of firearms in New York State; and deny the allegations

set forth in the   third sentence of said paragraph.

                   83.      Deny the allegations set forth in paragraph "83" of the Complaint, and

refer the Court to the Concealed Carry Improvement Act for its full text.

                   84.      Deny the allegations set forth in paragraph"S{" of the Complaint.

                   85.      Deny the allegations set forth in paragraph "85" of the Complaint.

                   86.      Deny the allegations set forth in paragraph "86" of the Complaint insofar

as they allege that Defendants acted improperly or contrary            to law or violated Plaintiffs'

constitutional rights.

                   87   .   Deny the allegations set forth in paragraph "87" of the Complaint insofar

as they allege that Defendants acted improperly or contrary            to law or violated Plaintiffs'

constitutional rights.
                                                                        o'88" of the Complaint insofar
                   88.      Deny the allegations set forth in paragraph

as they allege that Defendants acted improperly or contrary            to law or violated Plaintiffs'

constitutional rights.



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                89.      Deny the allegations set forth in paragraph "89" of the Complaint insofar

as they allege that Defendants acted improperly or contrary            to law or violated Plaintiffs'

constitutional rights.

                90.      Deny the allegations set forth in paragraph "90" of the Complaint.

                9I   .   Deny the allegations set forth in paragraph "91" of the Complaint.

                92.      Deny the allegations set forth in parugraph "92" of the Complaint insofar

as they allege that Defendants acted improperly or contrary            to law or violated Plaintiffs'

constitutional rights.

                93.      Deny the allegations set forth in paragraph "93" of the Complaint.

                94.      Deny the allegations set forth in paragraph "94" of the Complaint.

                95.      Deny the allegations set forth in paragraph "95" of the Complaint.

                96.      In response to the allegations set forth in paragraph"96" of the Complaint,

Defendants repeat and reallege all the preceding paragraphs of this Answet, as       if fully   set forth

herein.

                97.      Deny the allegations set forth in paragraph "97" of the Complaint, and

refer the Court to 42 U.S.C. $ 1983 for its complete text.

               98.       Admit the allegations set forth in paragraph "98" of the Complaint.

                99.      Defendants neither admit nor deny the allegations set forth in paragraph

"99" ofthe Complaint       as allegations concerning "color of state law" are conclusions of law

rather than averments of fact to which no response is required.

                100.     Deny the allegations set forth in paragraph   "l00" of the Complaint.

                101.     Deny the allegations set forth in paragraph "101" of the Complaint.

                102. Deny the allegations     set   forth in paragraph "I02" of the Complaint.



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                  103.      Deny the allegations set forth in paragraph "103" of the Complaint.

                   104.     Defendants neither admit nor deny the allegations set forth in paragraph

*l04" of the Complaint       as allegations concerning whether the    individually named defendants are

"policymakers" are conclusions of law rather than averments of fact to which no response is

required.

                  105.      Deny the allegations set forth in paragraph "105" of the Complaint.

                  106. Deny the allegations set forth in paragraph "106" of the Complaint.
                                                                        uI07" of the Complaint.
                   107.     Deny the allegations set forth in paragraph

                  108.      Deny the allegations set forth in paragraph   "l08" of the Complaint.

                  109.      Deny the allegations set forth in paragraph"l}g" of the Complaint.

                  110.      Deny the allegations set forth in paragraph   "l10" of the Complaint.

                  1I   L    Deny the allegations set forth in paragraph "1I1" of the Complaint, except

admit that Plaintiffs purport to bring this action as stated therein.

                   ll2. In response to the allegations         set forth      in   paragraph   "112" of   the

Complaint, Defendants repeat and reallege all the preceding paragraphs of this Answer, as                  if
fully   set forth herein.

                  113.      Deny the allegations set forth in paragraph "113" of the Complaint, and

refer the Court to 42 U.S.C. $ 1983 for its complete text.

                                                                         *114" of the Complaint.
                  Il4.      Admit the allegations set forth in paragraph

                  115.      Defendants neither admit nor deny the allegations set forth in paragraph

'0115" of the Complaint as allegations concerning "color         of   state   law" are conclusions of law

rather than averments of fact to which no response is required.




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                116. Deny the allegations set forth in paragraph"ll6"            of the Complaint, except

admit that the License Division has not issued a Special Carry License to Zeron, and aver that the

License Division issued a New York City Rifle and Shotgun Permit to Meissner in October

2022, and further aver that the License Division approved Meissner's application for a Premises

Residence Handgun License in March 2023.

                Il7.    Deny the allegations set forth in paragraph "T17" of the Complaint.

                118.    Deny the allegations set forth in paragraph     "l l8"   of the Complaint.

                119.    Deny the allegations set forth in paragraph
                                                                        u|lg" of the Complaint.

                                                                    *120" of the Complaint.
                120.    Deny the allegations set forth in paragraph
                                                                    o'I21" of the Complaint.
                l2I.    Deny the allegations set forth in paragraph

                I22.    Deny the allegations set forth in paragraph "I22" of the Complaint.

                I23.    Deny the allegations set forth in paragraph"l23" of the Complaint.

                124.    Deny the allegations set forth in paragraph "I24" of the Complaint.

                125.    Deny the allegations set forth in parugraph"l2\" of the Complaint.

                126.    Deny the allegations set forth in paragraph "126" of the Complaint.

                127. Deny the allegations set forth in paragraph u127" of the Complaint.
                                                                    *128" of the Complaint.
                128.    Deny the allegations set forth in paragraph

                129.    Deny the allegations set forth in paragraph "129" of the Complaint.

                130.    Deny the allegations set forth in paragraph "130" of the Complaint.

                131. Deny the allegations set forth in paragraph *131" of the Complaint, except
admit that Plaintiffs purport to bring this action as stated therein.




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                  I32. In response to the allegations set forth in paragraph "132" of the
Complaint, Defendants repeat and reallege all the preceding paragraphs of this Answer, as              if
fully   set forth herein.

                  133. Defendants       neither admit nor deny the allegations set forth in paragraph

"133" of the Complaint as they constitute conclusions of law rather than averments of fact to

which no response is required.

                  I34.      Defendants neither admit nor deny the allegations set forth in paragraph

"134u of the Complaint as they constitute conclusions of law rather than averments of fact to

which no response is required.

                  135. Defendants       neither admit nor deny the allegations set forth in paragraph

"135" of the Complaint as they constitute conclusions of law rather than averments of fact to

which no response is required.

                  136.      Deny the allegations set forth in paragraph"136" of the Complaint, except

admit that the License Division has not issued a Special Carry License to Zeron, and aver that the

License Division issued a New York City Rifle and Shotgun Permit to Meissner                 in   October

2022, and further aver that the License Division approved Meissner's application for a Premises

Residence Handgun License in March 2023.

                  137.      Deny the allegations set forth in paragraph   "I37" of the Complaint.

                  138.      Deny the allegations set forth in paragraph"138" of the Complaint.
                                                                        u139" of the Complaint, except
                  139.      Deny the allegations set forth in paragraph

admit that Plaintiffs purport to bring this action as stated therein.




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                   140. In     response   to the allegations set forth in    paragraph   "140" of    the


Complaint, Defendants repeat and reallege all the preceding paragraphs of this Answer, as             if
fully   set forth herein.

                   I4I.     Defendants neither admit nor deny the allegations set forth in paragraph

"14I" of the Complaint        as they constitute conclusions   of law rather than averments of fact to

which no response is required.

                   142.     Defendants neither admit nor deny the allegations set forth   in   parugraph

"142u of the Complaint as they constitute conclusions of law rather than averments of fact to

which no response is required.

                   I43.     Defendants neither admit nor deny the allegations set forth in paragraph

*143- of the Complaint as they constitute conclusions of law rather than averments of fact to

which no response is required.

                   144.     Deny the allegations set forth in paragraph"l$4" of the Complaint.

                   I45.     Deny the allegations set forth in paragraph"l4l" of the Complaint, except

admit that the License Division has not issued a Special Cany License to Zeron, and aver that the

License Division issued a New York City Rifle and Shotgun Permit to Meissner in October

2022, and further aver that the License Division approved Meissner's application for a Premises

Residence Handgun License in March 2023.

                   146.     Deny the allegations set forth in paragraph"146" of the Complaint.

                   147.     Deny the allegations set forth in paragraph"l4T" of the Complaint.

                   148.     Deny the allegations set forth in paragraph "148" of the Complaint, except

admit that Plaintiffs purport to bring this action as stated therein.




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                   I49. In response to the allegations set forth in paragraph "l49" of the
Complaint, Defendants repeat and reallege all the preceding paragraphs of this Answer, as             if
fully   set forth herein.

                  150.      Defendants neither admit nor deny the allegations set forth in paragraph

"150" of the Complaint as they constitute conclusions of law rather than averments of fact to

which no response is required.

                  151   .   Deny the allegations set forth in paragraph " 15 1" of the Complaint insofar

as they allege that Defendants acted improperly or contrary to law or violated Plaintiffs'

constitutional rights.

                  I52.      Deny the allegations set forth in paragraph"l52" of the Complaint insofar

as they allege that Defendants acted improperly or contrary to law or violated Plaintiffs'

constitutional rights.

                  153.      Deny the allegations set forth in paragraph"ls3" of the Complaint.

                  154.      Deny the allegations set forth in paragraph "154" of the Complaint insofar

as they allege that Defendants acted improperly or contrary to law or violated Plaintiffs'

constitutional rights.

                  155.      Deny the allegations set forth in paragraph "155" of the Complaint.

                  156.      Deny the allegations set forth in paragraph"156" of the Complaint, except

admit that Plaintiffs accurately quoted from Article            IV,   Section 1   of the United   States


Constitution, and refer this Court to Article IV, Section 1 of the United States Constitution for its

complete text.

                  157.      Deny the allegations set forth in paragraph "157" of the Complaint, except

admit that Plaintiffs accurately quoted from a portion of the United States Supreme Court's



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decision in V.L. v. E.L.,577 rJ.S.404 (2016), and refer this Court to the decision for its full

meaning and context.

                158.    Deny the allegations set forth in paragraph     "l58" of the Complaint,   except

deny knowledge or information sufficient to form a belief as to the truth of the allegation that

"Plaintiff Zeron intends to carry his firearm in New York City.. '."

                159.    Deny the allegations set forth inparagraph "159" of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegation that

"Plaintiff Aleman intends to carry his hrearm in New York City'..."

                160.    Deny the allegations set forth in paragraph "160" of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegation that

"Plaintiff Silvestro intends to carry his firearm in New York City...."

                161.    Deny the allegations set forth in   paragraph"lfl" of the Complaint.

                162.    Deny the allegations set forth in paragraph"162" of the Complaint, except

admit that Plaintiffs purport to bring this action as stated therein.

                163.    Deny the allegations set forth in paragraph"163" of the Complaint, except

admit that Plaintiffs purport to bring this action as stated therein.

                164.    Denies that Plaintiffs are entitled to the relief set forth in the "Wherefore"

Clause.

                      AS AND FOR A FIRST                       TIVE DEFENSE

                165. The Complaint fails to state a claim upon which relief can be granted.
                    AS AND FOR A SECOND AFFIRMATIVE DEFENSE

                166.    The injuries alleged by Plaintiffs were caused in whole or in part by and

arose out of Plaintiffs' own culpable conduct.




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                     AS AND FO        A THIRD AFFIRMATIVE DEF'ENSE

               167.      Defendants have not violated any rights, privileges or immunities under

the Constitution or laws of the United States or the State of New York or any political

subdivision thereof, or any act of Congress providing for the protection of civil rights.

                   AS AND            A F'OURTH AFFIRMATIVE DEF'ENSE,

               168.      Plaintiffs cannot obtain punitive damages as against the City of New York.

                     AS AND FOR A FIFTH                     TIVE DEF'ENSE

                169. Any and all actions taken by the individual defendants with respect          to

Plaintiffs did not violate any clearly established rights or laws of which a reasonable person

would have known at the time and under the circumstances that the actions were                taken.

Consequently, said individually named defendants are immune from liability under the doctrine

of qualified immunity.

                     AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

                170. At all times relevant to the acts alleged in the Complaint,      the duties and

functions of Defendant City of New York's officials entailed the reasonable exercise of proper

and lawful discretion. Therefore, Defendant City of New York is entitled to governmental

immunity from liability.




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                 WHEREFORE, Defendants request judgment dismissing the Complaint in its

entirety, together with the costs and disbursements of this action, and such other and further

relief   as the Court may deem   just and proper.

Dated:           New York, New York
                 June 73,2023




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